                         IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TENNESSEE
                                    AT KNOXVILLE

UNITED STATES OF AMERICA,                         )
                                                  )
                       Plaintiff,                 )
                                                  )
v.                                                )           No. 3:10-CR-161
                                                  )
MAIMOUNE WRIGHT,                                  )           (VARLAN/SHIRLEY)
                                                  )
                       Defendant.                 )

                            REPORT AND RECOMMENDATION

               All pretrial motions in this case have been referred to the undersigned pursuant to 28

U.S.C. § 636(b) for disposition or report and recommendation regarding disposition by the District

Court as may be appropriate. Pending before this Court are the Defendant’s three motions to dismiss

the Second Superseding Indictment: Defendant Wright’s Amended Motion to Dismiss for Duplicity

and to Strike Surplussage [sic.] in Second Superseding Indictment [Doc. 69],1 Defendant Wright’s

Motion to Dismiss for Preindictment Delay and Failure to Preserve Evidence in Violation of

Defendant’s Due Process Rights [Doc. 71], Defendant Wright’s Motion to Dismiss for Selective

Prosecution [Doc. 73], all filed on August 1, 2011. This case came before the Court on September

26, 2011, for an evidentiary and motion hearing on the Defendant’s pending motions. Assistant

United States Attorney Alexandra Hui appeared on behalf of the Government. Attorney Michael H.




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          The Defendant filed another Motion to Dismiss for Duplicity and to Strike Surplussage
[sic.] in First Superseding Indictment [Doc. 62] on that same day. Because this motion is
identical to Document 69, in all respects except that it refers to the First Superseding Indictment,
rather than the Second Superseding Indictment, it is DENIED as moot.

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Meares represented Defendant Wright, who was also present.2 The parties presented testimony and

argument on the pending motions, which the Court took under advisement at the conclusion of the

hearing.



                                       I. BACKGROUND

               Defendant Wright is charged in a Third Superseding Indictment [Doc. 103] with a

single count (Count 1) of conspiring to dispense controlled substances outside of the usual course

of professional practice and without a legitimate medical purpose from August 2008 to December

14, 2010. The Indictment alleges that Defendant Wright worked at Maryville Pain Management

clinic from December 1, 2008, to September 28, 2009. [Doc. 103, ¶12] It states that Defendant

Wright signed blank prescriptions; left them with Defendant Tamral Guzman, who is not authorized

to prescribe medication; and was often not present for the examinations of patients. [Doc. 103, ¶12]

The Indictment also alleges that Defendant Wright left additional presigned blank prescriptions with

Defendant Guzman when she resigned from the clinic on September 28, 2009. [Doc. 103, ¶13]



                              II. POSITIONS OF THE PARTIES

               The Defendant calls for the dismissal of the Indictment,3 arguing that (1) the


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       Attorneys Michael B. Menefee and Christopher Scott Irwin appeared on behalf of
Defendants Tamral Guzman and Brian Downey respectively. Defendants Guzman and Downey
were not present at the hearing and have not joined in these motions.
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        The Defendant’s motion calls for the dismissal of the Second Superseding Indictment
[Doc. 56]. On November 1, 2011, the Government filed a Third Superseding Indictment [Doc.
103]. Count One, which is the only count charging Defendant Wright in either the Second or
Third Superseding Indictment, extends the date for the end of the conspiracy to dispense
controlled substances by one week, from December 7, 2010, to December 14, 2010. The Third

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Indictment is duplicitious, (2) the Government’s delay in bringing the Indictment resulted in the

spoilation of evidence, and (3) the Government is selectively prosecuting her based upon her race.

The Government responds in opposition to each of these contentions.

               With regard to her duplicity argument, the Defendant contends [Doc. 69] that

although the Indictment purports to charge a single conspiracy to dispense controlled substances

outside of the usual course of medical practice and without a legitimate medical purpose, it actually

charges multiple conspiracies, all of which were connected to Codefendant Tameral Guzman. She

also maintains that the Indictment contains surplus language referring to Schedule I and Schedule

III drugs, when these substances are not included in the charges. She asserts that this surplus

language should be stricken to avoid prejudice to her and confusion of the jury.

               The Government responds [Doc. 85] that the Indictment properly charges a single

conspiracy in which all the coconspirators operated out of Maryville Pain Management clinic for the

common purpose of profiting from the sale of unlawful prescriptions. It also argues that the

descriptions of Schedule I and III drugs in the Indictment provide context, are relevant to

understanding the types of drugs charged in this case, and are not prejudicial.

               The Defendant also argues [Doc. 71] that the Government’s delay in bringing the

charge against her in this case violated her right to due process of law. She contends that the

Government knew of her alleged involvement in the case in early November 2009, yet did not bring

the instant conspiracy charge until April 5, 2011. She argues that she was prejudiced by this delay

because necessary evidence, in the form of medical records from Maryville Pain Management, is no


Superseding Indictment also contains some linguistic changes in the overt acts and forfeiture
allegations. To the extent that these changes are relevant to the instant motions, they will be
discussed in the report.

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longer accessible to her.

                 The Government responds [Doc. 84] that any delay in prosecuting the Defendant is

the result of the fact that it was still investigating the case and not to create a tactical advantage.

Also, it asserts that it had no legal basis to seize any medical records from Maryville Pain

Management, other than the 59 patient files, which it seized pursuant to a search warrant. It

questions whether the medical files are actually unavailable to the Defendant but states that, in any

event, the Defendant’s lack of access to the medical records is not due to prosecutorial delay.

                 Finally, the Defendant argues [Doc. 73] that the Court should dismiss the Indictment

because she was selectively prosecuted on the basis of her race. She argues that of the seven medical

professionals working at Maryville Pain Management during the time period of the alleged

conspiracy, she was the only one prosecuted due to the racial bias of DEA and state investigators.

She contends that her selective prosecution will have a discriminatory effect on other African nurse

practitioners.

                 The Government responds [Doc. 83] that the Defendant cannot show either

discriminatory intent or discriminatory effect in this case. First, it argues that the Defendant has

made no claims of racial bias against federal prosecutors, who were the only ones with the authority

to bring charges against the Defendant. Second, it contends that the Defendant has failed to show

any racial bias on the part of investigators. Third, it maintains that the other medical practitioners

at Maryville Pain Management were not similarly situated to the Defendant and, thus, cannot provide

a basis for showing discriminatory effect.




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                                          III. ANALYSIS

               Our Constitution requires that “[n]o person shall be held to answer for a capital, or

otherwise infamous crime, unless on a presentment or indictment by a grand jury[.]” U.S. Const.

Amend. V. “The indictment . . . must be a plain, concise, and definite written statement of the

essential facts constituting the offense charged[.]” Fed. R. Crim. P. 7(c)(1). As a general rule, an

indictment passes constitutional muster if it “contains the elements of the offense charged and fairly

informs a defendant of the charge against which he must defend, and, second, enables him to plead

an acquittal or conviction in bar of future prosecutions for the same offense.” Hamling v. United

States, 418 U.S. 87, 117 (1974); United States v. Landham, 251 F.3d 1072, 1079 (6th Cir. 2001)

(quoting Hamling). A defendant may challenge a defect in the indictment before trial. Fed. R. Crim.

P. 12(b)(2). Defendant Wright calls for the dismissal of the charge against her because she contends

(1) Count One of the Indictment is duplicitous in violation of her Fifth Amendment rights, (2)

prosecutorial delay in bringing charges against her resulted in the spoilation of evidence, and (3) she

was selectively prosecuted because of her race. The Court will examine each of these issues in turn.



                                   A. Duplicity and Surplusage

               The Defendant argues [Doc. 69] that the Indictment is duplicitous because it alleges

multiple conspiracies in a single count. Count One charges Defendant Wright, Defendant Tamral

Guzman, and unnamed “others” with conspiring to dispense controlled substances “outside of the

usual course of professional practice and without a legitimate medical purpose[.]” [Doc. 103, ¶8]

This conspiracy is alleged to have begun in August 2008 and to have extended through December

14, 2010. The indictment alleges that Defendant Wright “was employed by Maryville Pain


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Management from approximately December 1, 2008, through September 28, 2009.” [Doc. 103, ¶12].

It also alleges that Maryville Pain Management employed no medical practitioner from September

28, 2009, to October 19, 2009. [Doc. 103, ¶14] The Defendant argues that because the conspiracy

begins before her employment and extends beyond her resignation, the Indictment actually alleges

other, separate conspiracies between Defendant Guzman, who is not a practitioner, and “others” in

possession of a DEA number and authorized to prescribe controlled substances. The Defendant

contends that “[t]o allow the Government to prove an alleged continuing conspiracy with Guzman,

either before or after Wright’s credentials were used, or available for use, will create an

impermissible variance in the proof where one conspiracy has been alleged but multiple conspiracies

may be proved.” [Doc. 69, p. 3]

               Alternatively, the Defendant also argues that the language in paragraphs 2.a. and 2.c.

of the Indictment must be stricken as surplusage. Paragraph 2.a. describes Schedule I controlled

substances as drugs “with a high potential for abuse, no accepted medical use in the United States,

and no accepted safety for use under medical supervision.” [Doc. 103, ¶2.a.] Paragraph 2.c. similarly

describes Schedule III drugs as those with “a currently accepted medical use, but a potential for

abuse, albeit a lesser potential than the drugs in Schedules I and II. This abuse may lead to moderate

or low physical dependence, or a high psychological dependence.” [Doc. 103, ¶2.c.] The Defendant

asserts that because the Indictment does not allege that any Schedule I or III drugs were dispensed

from Maryville Pain Management, the language in paragraphs 2.a. and 2.c. is surplusage and should

be stricken. She argues that the repeated unnecessary references to the drugs’ “potential for abuse”

in paragraphs 2.a. and 2.c. could be prejudicial to her.

               The Government responds [Doc. 85] that Count One alleges a single conspiracy in


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which all co-conspirators “used the store front of Maryville Pain Management, LLC for the common

goal of generating large cash revenue through the unlawful sale of prescriptions.” [Doc. 85, p.3] It

contends that Defendant Wright’s entry into the conspiracy after the alleged start date and her

withdrawal in September 2008, after her commission of certain overt acts, does not transform the

conspiracy into multiple conspiracies. Moreover, the Government argues that whether a single

conspiracy or multiple conspiracies exist is a matter of fact for the jury to determine. Finally, the

Government contends that the language in paragraphs 2.a. and 2.c. provides context to the

surrounding paragraphs, which describe the drugs in Schedules II and IV. Accordingly, it maintains

that paragraphs 2.a. and 2.c. are relevant and not prejudicial.

(1) Duplicity

                “An indictment is duplicitous if it sets forth separate and distinct crimes in one

count.” United States v. Davis, 306 F.3d 398, 415 (6th Cir. 2002). The primary problem with

duplicitous counts is that the jury may not arrive at a unanimous verdict on a specific count. United

States v. Washington, 127 F.3d 510, 513 (6th 1997). This effect of duplicitous indictments can

potentially prejudice the defendant at sentencing, on appellate review, and in protecting against a

future double jeopardy violation. Id.

                The Defendant contends that the indictment is duplicitous because it actually charges

multiple conspiracies between Defendant Guzman and different health care providers with the

authority to write prescriptions, rather than a single conspiracy as alleged. “If an indictment alleges

one conspiracy, but the evidence can reasonably be construed only as supporting a finding of

multiple conspiracies, the resulting variance between the indictment and the proof is reversible error

if the appellant can show that he was prejudiced thereby.” United States v. Warner, 690 F.2d 545,


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549 (6th Cir. 1982) (citing Kotteakos v. United States, 328 U.S. 750 (1946)). The prejudice

stemming from an indictment that charges a single conspiracy when the government’s proof shows

multiple conspiracies is threefold: (1) the defendant is not able to present his or her defense but,

instead, may be surprised by the evidence at trial; (2) the defendant’s conviction is based upon the

substantive offenses of another; and (3) “spillover” evidence relating to alleged coconspirators

causes the jury to perceive greater culpability in the defendant and greater harm to the public. United

States v. Swafford, 512 F.3d 833, 842-43 (6th Cir. 2008).

               In order to discern whether an indictment charges a single or multiple conspiracies,

the Court must look to the allegations of the criminal agreement, which is “the essence of the crime

of conspiracy[.]” Warner, 690 F.2d at 549.

               “[I]n order to prove a single conspiracy, the government must show
               that each alleged member agreed to participate in what he knew to be
               a collective venture directed toward a common goal.” United States
               v. Martino, 664 F.2d 860, 876 (2d Cir. 1981) (citation omitted).
               However, the government is not required to prove an actual
               agreement among the various conspirators in order to establish a
               single conspiracy. In one form of conspiracy, often described as a
               “chain” conspiracy, the agreement can be inferred from the
               interdependent nature of the criminal enterprise. United States v.
               Sutherland, [656 F.2d 1181,] 1190-91[ (5th Cir. 1981)]. Conspiracies
               to distribute narcotics, which normally involve numerous sales and
               resales of drugs until they reach the ultimate consumers, are often
               “chain” conspiracies. Because the success of participants on each
               level of distribution is dependent upon the existence of other levels
               of distribution, each member of the conspiracy must realize that he is
               participating in a joint enterprise, even if he does not know the
               identities of many of the participants. Accordingly, a single
               conspiracy does not become multiple conspiracies simply because
               each member of the conspiracy did not know every other member, or
               because each member did not know of or become involved in all of
               the activities in furtherance of the conspiracy.

Id. (some citations omitted); see also United States v. Segines, 17 F.3d 847, 856 (6th Cir. 1994)


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(observing that passage of time or a change in membership or location do not transform a single

conspiracy into a multiple conspiracy); United States v. Kelley, 849 F.2d 999, 1003 (6th Cir. 1988)

(holding that “[a]lthough the enterprise engaged in three separate transactions, and the cast of

characters changed over the course of the enterprise, this does not mean that there was not one

conspiracy linking all three deals”). “‘Drug distribution conspiracies are often “chain” conspiracies

such that agreement can be inferred from the interdependence of the enterprise.’” United States v.

Schultz, 855 F.2d 1217, 1221 (6th Cir. 1988) (quoting United States v. Bourjaily, 781 F.2d 539, 544

(6th Cir. 1986)). The Government argues that the instant conspiracy is a chain conspiracy, with all

the coconspirators operating out of the storefront of the Maryville Pain Management clinic.

               The Defendant argues that the instant indictment actually charges a “rimless wheel

conspiracy,” that is multiple separate conspiracies all connected to Defendant Guzman as the hub

but with no common rim of agreement between all other coconspirators. “‘A rimless wheel

conspiracy is one in which various defendants enter into separate agreements with a common

defendant, but where the defendants have no connection with one another, other than the common

defendant’s involvement in each transaction.’” Swafford, 512 F.3d at 842. In Swafford, the court

concluded that the proof at trial–that the defendant sold iodine to numerous customers who planned

to use it to manufacture methamphetamine–supported a finding of multiple conspiracies varying

from the single conspiracy charged, because none of the customers were acting in furtherance of a

common goal or were interdependent. Id. In this case, the Defendant argues that “[i]f codefendant

Guzman entered into a conspiracy with another practitioner before, after or even at the same time

as Wright with the goal of misusing their credentials to distribute narcotics for no legitimate medical

purpose, such other practitioner’s conduct cannot be attributed to Wright.” [Doc. 70, p.1] At the


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motion hearing, the Government responded that all the coconspirators in this case were connected

by a common agreement, not just by a common defendant.

               Duplicity in an indictment occurs when the indictment on its face charges two or more

crimes in a single count. Davis, 306 F.3d at 415. Count One of the instant Third Superseding

Indictment charges, in pertinent part, as follows:

                       Beginning in or about August 2008, and continuing through
               on or about December 14, 2010, within the Eastern District of
               Tennessee, the defendants, TAMRAL GUZMAN and
               MAIMOUNE WRIGHT, did combine, conspire, confederate, and
               agree with each other and others to commit violations of Title 21,
               United States Code, Section 841(a)(1), that is, knowingly,
               intentionally, and without authority to dispense, distribute, possess
               with intent to dispense, and possess with intent to distribute a quantity
               of a mixture and substance containing oxycodone, a Schedule II
               controlled substance; a quantity of a mixture and substance
               containing hydrocodone, a Schedule II controlled substance; a
               quantity of a mixture and substance containing alprazolam, a
               Schedule IV controlled substance; a quantity of a mixture and
               substance containing diazepam, a Schedule IV controlled substance;
               and a quantity of a mixture and substance containing zolpidem, a
               Schedule IV controlled substance, outside of the usual course of
               professional practice and without a legitimate medical purpose, all in
               violation of Title 21, United States Code, Section 846.

The Court finds that Count One of the Indictment charges a single conspiracy on its face.

               The Court finds that the Defendant’s argument relates to the factual allegations in the

Manner and Means portion of Count One. Defendant essentially argues that the facts alleged in

Count One do not show a criminal agreement between Defendant Wright and anyone other than

Defendant Guzman. “‘[W]hether single or multiple conspiracies have been shown is usually a

question of fact to be resolved by the jury[.]’” Schultz, 855 F.2d at 1222 (quoting Kelley, 849 F.2d

at 1002) (other citations omitted). All of the cases cited by the parties, as well as others reviewed



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by the Court, raise the issue of single vs multiple conspiracies by asking whether a fatal variance

occurred between the allegations in the indictment and the proof at trial or by evaluating the

sufficiency of the evidence. See Kotteakos v. United States, 328 U.S. 750, 776 (1946) (expressing

“no opinion on whether indictments with this defect[, that of charging a single conspiracy when

multiple conspiracies are proven,] should always be dismissed”); United States v. Goff, 400 F.

App’x 1, 12 (6th Cir. 2010); Segines, 17 F.3d at 856; Swafford, 512 F.3d at 841; Schultz, 855 F.2d

at 1222; Kelley, 849 F.2d at 1002; Warner, 690 F.2d at 548; see also United States v. Berger, 224

F.3d 107, 114-16 (2nd Cir. 2000); United States v. Durades, 607 F.2d 818, 819 (9th Cir. 1979).

While it is arguable that the Third Superseding Indictment does not allege much to reveal the

interdependence of the coconspirators or the conspiratorial agreement with respect to persons other

than Wright and Guzman, this does not mean that the Government will not be able to prove those

matters at trial. Accordingly, the Court finds that Count One of the Indictment is not duplicitous

because it only charges a single conspiracy. Moreover, at this juncture, the Court can only speculate

whether a fatal variance in the proof will occur at trial. Thus, the Court finds that the issue of a fatal

variance is not one that can be decided before the trial of the matter. Fed. R. Crim. P. 12(b)(2)

(providing that parties “may raise by pretrial motion any defense, objection, or request that the court

can determine without a trial of the general issue”).



(2) Surplus Language

                The Defendant argues that inclusion of information about Schedule I and Schedule

III drugs in paragraphs 2.a. and 2.c. of the Indictment is surplusage and prejudices her because no

Schedule I or III drugs are alleged to have been improperly distributed in this case. Rule 7 of the


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Federal Rules of Criminal Procedure provides that an indictment “must be a plain, concise, and

definite written statement of the essential facts constituting the offense charged . . . .” Fed. R. Crim.

P. 7(c)(1). Upon motion of the defendant, “the court may strike surplusage from the indictment or

information.” Fed. R. Crim. P. 7(d). The Advisory Committee notes to the rule explain that “[t]his

rule introduces a means of protecting the defendant against immaterial or irrelevant allegations in

an indictment or information, which may, however, be prejudicial.” Whether to strike surplus

language from an indictment is a matter within the sound discretion of the district court. United

States v. Kemper, 503 F.2d 327, 329 (6th Cir. 1974). Rule 7(d) “is properly invoked when an

indictment contains nonessential allegations that could prejudicially impress the jurors.” Id. The

Sixth Circuit has held that “if the language in the indictment is information which the government

hopes to properly prove at trial, it cannot be considered surplusage no matter how prejudicial it may

be (provided, of course, it is legally relevant).” United States v. Moss, 9 F.3d 543, 550 (6th Cir.

1993); United States v. Thomas, 875 F.2d 559, 562 n.2 (6th Cir. 1989).

                In the instant case, the Government argues that the information in 2.a. and 2.c. is

relevant because it gives context to the allegations in paragraphs 2.b. and 2.d. regarding the use and

addictiveness of those classes of controlled substances at issue in this case. The Court agrees. The

paragraphs in question are relevant because they inform the layperson about the range of uses and

addictiveness of controlled substances in order to allow one to understand the type of drugs alleged

in this case. Moreover, the Court does not find the repetition of the word “potential for abuse” to

be prejudicial to the Defendant. If anything, the explanation of the potential for abuse of four

schedules of controlled substances reveals that the drugs alleged in this case were not of the most

serious category, Schedule I. Accordingly, the Court finds that paragraphs 2.a. and 2.c. are not


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surplusage.



                       B. Prosecutorial Delay and Spoilation of Evidence

               The Defendant also moves [Doc. 71] the Court to dismiss the Indictment because of

the Government’s pre-indictment delay and failure to preserve evidence. The Defendant alleges that

despite her revealing to DEA Investigator David Graham on September 25, 2009, that she suspected

the clinic was directly dispensing narcotics, and despite her alleged admission regarding pre-signed

prescriptions on November 5, 2009, she was not charged in this case until April 5, 2011. She argues

that this delay in prosecuting her violated her right to due process because medical files at Maryville

Pain Management are no longer available to her. She contends that these files are necessary for her

to prove that controlled substances prescribed by her during her tenure at Maryville Pain

Management were based upon a “legitimate medical purpose” and were prescribed in the “usual

course of professional practice.” The Defendant argues that the Government acted in bad faith in

failing to preserve the medical records at Maryville Pain Management, because it did not attempt to

seize these records until December 13, 2010, and only seized 59 patient files at that time. She asserts

that she is prejudiced by the Government’s failure to preserve all of the medical records at Maryville

Pain Management because she can no longer show that the drugs she prescribed were issued due to

a legitimate medical purpose and in the usual course of her practice.4



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        In support of this contention, the Defendant offers the affidavit [Doc. 71-1] of Dr.
Tucker Montgomery, a medical doctor and attorney, who opines that it is essential to review an
individual patient’s chart in order to determine whether that person’s prescription was
“legitimate.” Dr. Montgomery also avers that it is prejudicial for the Defendant to have access to
only 59 files from her ten months of employment with which to show her “usual course of
professional practice.”

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               The Government responds [Doc. 72] that the time period between the Defendant’s

admission on November 5, 2009, and the First Superseding Indictment [Doc. 41] charging the

Defendant was due to the continued investigation of the case, rather than to gain any tactical

advantage. The Government also argues that it had no basis to seize all of the medical records at

Maryville Pain Management and, therefore, it is not responsible for the loss of those records to the

Defendant.

               Statutes of limitations provide the main protection against prosecutorial delay in

charging a defendant. United States v. Lovasco, 431 U.S. 783, 789 (1977). “Such a limitation is

designed to protect individuals from having to defend themselves against charges when the basic

facts may have become obscured by the passage of time and to minimize the danger of official

punishment because of acts in the far-distant past.” Toussie v. United States, 397 U.S. 112, 114-15

(1970). In the present case, the indictment was brought within the applicable five-year statute of

limitations. See 18 U.S.C. § 3282(a) (imposing a five-year statute of limitations for all non-capital

cases).

               Nevertheless, delay in prosecuting a defendant can implicate due process even if the

indictment is brought within the statute of limitations. United States v. Marion, 404 U.S. 307, 325

(1971) (reversing dismissal for three-year time period between crimes and indictment). To assess

whether a constitutional violation has occurred, courts are to determine whether the “‘fundamental

conceptions of justice which lie at the base of our civil and political institutions,’ and which define

‘the community’s sense of fair play and decency,’” are violated. Lovasco, 431 U.S. at 790 (quoting

Mooney v. Holohan, 294 U.S. 103, 112 (1935), and Rochin v. California, 342 U.S. 165, 173 (1952)).

“Dismissal for pre-indictment delay is warranted only when the defendant shows substantial


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prejudice to his right to a fair trial and that the delay was an intentional device by the government

to gain a tactical advantage.” United States v. Brown, 667 F.2d 566, 568 (6th Cir. 1982), see also

Marion, 404 U.S. at 324; United States v. Greene, 737 F.2d 572, 574 (6th 1984).



(1) Substantial Prejudice

                The defendant bears the burden of showing substantial prejudice by definite proof,

rather than speculation. United States v. Birney, 686 F.2d 102, 105-06 (2nd Cir. 1982); see also

United States v. Rogers, 118 F.3d 466, 475 (6th Cir. 1997). In the present case, the Defendant seeks

to show substantial prejudice from the delay by arguing that the medical files from Maryville Pain

Management are no longer available to her. She contends that the Government knew that she needed

access to all the medical files at the clinic to be able to show the legitimacy of her “usual course” of

professional practice. The Defendant asserts that despite having this knowledge, the Government

failed to seize and preserve all the medical files from Maryville Pain Management, when it seized

drugs from the clinic on November 13, 2009. The Defendant points out that the Government also

failed to seize all of the medical files when it executed a search warrant at Maryville Pain

Management on December 14, 2010. The Defendant states that of the 59 patient files seized by the

Government, five percent show that she refused to distribute controlled substances to patients, whom

she believed did not have a legitimate medical need for the medication. The Defendant believes that

other medical files left at Maryville Pain Management are also similarly exculpatory. Thus, she

contends that the Government acted in bad faith and substantially prejudiced her defense by failing




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to preserve all the medical records from the clinic.5

               In support of her argument, the Defendant references the Sixth Circuit’s three-part

test for determining when the government’s failure to preserve materially exculpatory evidence

constitutes a due process violation:

               When the state fails to preserve evidentiary material “of which no
               more can be said than that it could have been subjected to tests, the
               results of which might have exonerated the defendant,” a defendant
               must show: (1) that the government acted in bad faith in failing to
               preserve the evidence; (2) that the exculpatory value of the evidence
               was apparent before its destruction; and (3) that the nature of the
               evidence was such that the defendant would be unable to obtain
               comparable evidence by other means.

Monzo v. Edwards, 281 F.3d 568, 580 (6th Cir. 2002) (quoting Arizona v. Youngblood, 488 U.S.

51, 57 (1988)). The Defendant argues that the Government acted in bad faith in failing to preserve

the medical records at Maryville Pain Management and then preserving only a select few that

supported its case, despite knowing that the Defendant was a target of its investigation. The

Defendant also contends that access to all the medical records from the clinic are necessary for her

to prove a legitimate medical purpose in dispensing prescriptions in the usual course of her

professional practice. She maintains that she has no comparable evidence to replace the missing

patient records.

               The Government argues that this three-part test is inapplicable in this case because


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        At the September 26 hearing, the Defendant also raised the issue of Investigator David
Graham’s destruction of a box of blank prescription pads printed with Defendant Wright’s name.
Investigator Graham testified that he seized this box on November 13, 2009, and disposed of the
contents at Defendant Guzman’s request, because he did not consider it to be evidence.
Defendant Wright does not contend that the destruction of these prescription pads was the result
of prosecutorial delay. The Court will address the issue of the destruction of this box of
prescription pads in a separate Memorandum and Order in relation to Defendant Wright’s
Motion for Production of Favorable Evidence [Doc. 75].

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the medical records were never in its possession, nor could it have lawfully obtained them. It states

that Investigator Graham was at the clinic pursuant to Defendant Guzman’s consent on November

13, 2009, when he seized drugs that were in plain view. The Government contends that it did not

have probable cause to seek a search warrant for medical records at this time. The Government

argues that as the investigation developed, it gained probable cause to seek a search warrant for

eighty specific medical files. In order to satisfy the Fourth Amendment’s particularity requirement

with regard to the seizure of medical records, the government must identify by patient name, which

records are sought. United States v. Lazar, 604 F.3d 230, 238 (6th Cir. 2009). Accordingly, the

Government argues that it could not have seized all of the medical records at Maryville Pain

Management. The Brady rule requiring the government to preserve and disclose exculpatory

information only applies to that information within the government’s control. Owens v. Guida, 549

F.3d 399, 415 (6th Cir. 2008).

               In the present case, the Court finds that the remainder of the clinic’s medical records,

other than those seized pursuant to a search warrant in December 2010, were not in the

Government’s possession and that the Government did not act in bad faith in failing to seize the

records. Moreover, the Defendant has possession of the 59 medical files seized from Maryville Pain

Management, which are presumably the files that the Government intends to use as its proof at trial.

Accordingly, the Defendant may use the contents of those files to show that the prescriptions issued

to those patients were needed for a legitimate medical purpose.6 The Defendant has failed to show



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         This conforms to the affidavit of the Defendant’s expert Dr. Tucker, who opines that
“[t]he practice of medicine is very individualized. A prescription which would have a ‘legitimate
medical purpose’ for one patient might not for another. Accordingly, it is essential to review an
individual patient’s chart when deciding whether that individual’s prescription was ‘legitimate.’”

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that any prosecutorial delay caused her substantial prejudice.



(2) Tactical Advantage

                The second prong that the Defendant must prove is that the Government intentionally

caused the preindictment delay in order to gain a tactical advantage. See Marion, 404 U.S. at 324.

The Defendant appears to be alleging that the Government intentionally delayed by suggesting that

it had no valid reason to delay after her admission on November 5, 2009. The Court notes that even

when a prosecutor believes probable cause exists to seek an indictment, the prosecutor is not

compelled to file charges that day or at any time before he or she is satisfied that the suspect’s guilt

can be proven beyond a reasonable doubt. Lovasco, 431 U.S. at 791. To hold otherwise would have

negative consequences for potential defendants because it would “increase the likelihood of

unwarranted charges being filed, and would add to the time during which defendants stand accused

but untried.” Id., see also Greene, 737 F.2d at 574 (observing that requiring the government to prove

and courts to determine that the government brought the prosecution as soon as it had sufficient

evidence to gain a conviction would impose burdensome record-keeping requirements on

prosecutors, as well as burdening courts reviewing the prosecutors’ decisions).

                The Government cites to the ongoing investigation into the Defendant’s activities as

the reason for the delay. Unlike a prosecution intentionally delayed for the Government’s tactical

advantage, the prosecution of a defendant “following investigative delay does not deprive him of due

process, even if his defense might have been somewhat prejudiced by the lapse of time.” Lovasco,

431 U.S. at 796. The Court finds that the testimony at the September 26, 2011 suppression hearing

substantiates the Government’s claim that the investigation of the Defendant was ongoing from the


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time of her admission on November 5, 2009, until the filing of the First Superseding Indictment on

April 5, 2011. Investigator Graham testified that he initially believed that the Defendant was the

victim of someone forging her name on prescriptions. Investigator Houser testified that even after

the Defendant admitted to pre-signing blank prescriptions, the Defendant still believed that

Defendant Guzman had improperly used those blank prescriptions. Accordingly, the investigators

continued their investigation to learn the roles of the various parties.

               Finally, the Court finds that the Defendant has presented no proof that the

Government intentionally delayed the bringing of charges against the Defendant in order to gain a

tactical advantage. Instead, the Government argues that any delays caused by its investigation of this

case prejudice it, in terms of dimmed memories of witnesses, in prosecuting the case, rather than

giving it an advantage. The Court concludes that there is no basis to support a finding that the

Government intentionally delayed in order to gain a tactical advantage.

               In summary, the Court finds that the Defendant has failed to show both that the delay

was an intentional device by the Government for the purpose of gaining a tactical advantage and that

the delay has caused her substantial prejudice. Accordingly, the Court finds that the one year and

five-month lapse of time from the Defendant’s admission of pre-signing blank prescriptions on

November 5, 2009, to the indictment filed on April 5, 2011, does not violate fundamental concepts

of justice or defy the standards of fair play and decency. See Lovasco, 431 U.S. at 790.



                                     C. Selective Prosecution

               The Defendant argues [Doc. 73] that she was selectively prosecuted based upon her

race. She contends that of the seven medical professionals working at Maryville Pain Management


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during the time frame of the alleged conspiracy, only she has been charged. The Defendant argues

that she was singled out for investigation by Investigator Betty Houser of the Tennessee Health

Related Boards because she is African. She also contends that Investigator Houser and Agent

Graham made racist remarks to her on November 5, 2009. The Defendant argues that she was

selected for prosecution for the discriminatory purpose of limiting African nationals from nursing

practice and that her selective prosecution will have a discriminatory effect on other African nurse

practitioners.

                 The Government denies [Doc. 83] that the Defendant was selectively prosecuted and

argues that the Defendant cannot demonstrate either discriminatory effect or discriminatory intent.

With regard to discriminatory intent, it contends that Investigator Houser investigated the Defendant

in response to complaints made about the Defendant, rather than due to racial animus. The

Government denies any racist remarks were made to the Defendant on November 5, 2009. Finally,

the Government points out that neither Investigator Houser nor Investigator Graham have any

authority over the decision to pursue a federal prosecution of the Defendant. The Government also

maintains that the Defendant cannot show a discriminatory effect from her prosecution. It asserts

that the other practitioners who were employed at Maryville Pain Management were not similarly

situated to the Defendant because no evidence exists that they pre-signed blank prescriptions.

                 “The Attorney General and United States Attorneys retain ‘broad discretion’ to

enforce the Nation’s criminal laws.” United States v. Armstrong, 517 U.S. 456, 464 (1996) (quoting

Wayte v. United States, 470 U.S. 598, 607 (1985)). Because prosecutors are statutorily designated

as the President’s delegates, their decisions are entitled to a “presumption of regularity” unless there

exists clear evidence to the contrary. Id. On the other hand, prosecutorial decisions are subject to


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constitutional restraints. Id. Hence, “the decision whether to prosecute may not be based on ‘an

unjustifiable standard such as race, religion, or other arbitrary classification,’” in violation of the

equal protection component of due process. Id. (quoting Oyler v. Boles, 368 U.S. 448, 456 (1962)).

                In order to establish a selective prosecution claim, the defendant “must demonstrate

that the federal prosecutorial policy ‘had a discriminatory effect and that it was motivated by a

discriminatory purpose.’” Armstrong, 517 U.S. at 465 (quoting Wayte, 470 U.S. at 608) (citations

omitted). The Court of Appeals for the Sixth Circuit has established a two-part test for evaluating

whether a defendant has been selectively prosecuted:

                “To prevail on a selective prosecution claim, a defendant must show
                that the federal prosecutorial policy had both a discriminatory effect
                and a discriminatory intent. To establish discriminatory intent in a
                case alleging selective prosecution based on race, a claimant must
                show that the prosecutorial policy was motivated by racial animus; to
                establish discriminatory effect, the claimant must demonstrate that
                similarly situated individuals of a different race were not similarly
                prosecuted.”

United States v. Jones, 399 F.3d 640, 645 (6th Cir. 2005) (quoting United States v. Jones, 159 F.3d

969, 976-77 (6th Cir. 1998) (citations omitted)).

                In the instant case, the Court agrees with the Government that the Defendant has

failed to make a prima facie case of either discriminatory intent (that the prosecution decided to

prosecute the defendant based upon racial animus) or discriminatory effect (that similarly situated

non-African individuals were not also prosecuted). First, the record is devoid of any hint of racial

animus on the part of prosecuting attorneys in this case. The Defendant argues that the prosecuting

attorneys deferred to the investigators in bringing the instant charge and that the investigators singled

her out because of her race. Initially, the Court observes that neither the DEA investigator nor the



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state investigator had the authority to bring federal charges against the Defendant. Moreover, even

assuming that the Court should look to the motivations of the investigators, the Court also finds, as

discussed below, that no racial animus motivated the investigation by DEA Investigator David

Graham or Investigator Betty Jean Houser of the Tennessee Department of Health.

               The Defendant argues that Investigators Graham and Houser investigated her and not

any of the other medical professionals at Maryville Pain Management clinic. At the suppression

hearing on September 26, 2011, Investigator Graham testified that he asked to meet with the

Defendant on October 29, 2009, after Nurse Practitioner Melvin Viney contacted him about Viney’s

concern that the Defendant’s name had been forged on prescriptions issued from Maryville Pain

Management. Investigator Houser testified that although complaints had been filed about Maryville

Pain Management and the Defendant, she had yet to begin her investigation of those complaints

when Investigator Graham contacted her and asked her to accompany him to meet with the

Defendant on November 5, 2009. The testimony of these two witnesses reveal that they did not

single the Defendant out for investigation for any race-based reason but, instead, were investigating

complaints and concerns raised by others. Moreover, this Court has previously found [Doc. 107]

that Investigators Graham and Houser did not make any racist remarks to the Defendant when they

met with her on November 5 and 25, 2009. Accordingly, the Defendant has failed to show a

discriminatory intent.

               The Defendant has also failed to demonstrate that similarly situated persons were not

also prosecuted. Although no other medical professional from Maryville Pain Management has been




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charged in this case, the Court finds that the other medical professionals7 are not “similarly situated”

to the Defendant. At the September 26 suppression hearing, both Investigator Graham and

Investigator Houser testified that during the November 5, 2009 meeting with the Defendant, the

Defendant admitted to pre-signing 250 blank prescriptions and leaving them with Codefendant

Tamral Guzman to be used when the Defendant was not at the clinic. The Government argues that

it has no evidence that any of the other medical professionals working at Maryville Pain

Management pre-signed prescriptions for use in their absence by persons lacking the authority to

prescribe controlled substances. Accordingly, the Court finds that the Defendant has also failed to

demonstrate a discriminatory effect from the instant charges. The Court recommends that the

Defendant’s Motion to Dismiss for Selective Prosecution [Doc. 73] be denied.




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        The Court assumes for the sake of argument that none of the six other medical
professionals employed at Maryville Pain Management are African or African American.

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                                       IV. CONCLUSION

               After carefully considering the motions, memoranda, testimony, and arguments in

this case and after reviewing the relevant legal authorities, the Court finds no basis to dismiss the

Third Superseding Indictment. For the reasons set forth herein, it is RECOMMENDED that

Defendant Wright’s Amended Motion to Dismiss for Duplicity and to Strike Surplussage [sic.] in

Second Superseding Indictment [Doc. 69], Defendant Wright’s Motion to Dismiss for Preindictment

Delay and Failure to Preserve Evidence in Violation of Defendant’s Due Process Rights [Doc. 71],

and Defendant Wright’s Motion to Dismiss for Selective Prosecution [Doc. 73] be DENIED.8

                                                  Respectfully submitted,


                                                    s/ C. Clifford Shirley, Jr.
                                                  United States Magistrate Judge




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         Any objections to this report and recommendation must be served and filed within
fourteen (14) days after service of a copy of this recommended disposition on the objecting party.
Fed. R. Crim. P. 59(b)(2) (as amended). Failure to file objections within the time specified
waives the right to review by the District Court. Fed. R. Crim. P. 59(b)(2); see United States v.
Branch, 537 F.3d 582, 587 (6th. Cir. 2008); see also Thomas v. Arn, 474 U.S. 140, 155 (1985)
(providing that failure to file objections in compliance with the required time period waives the
right to appeal the District Court’s order). The District Court need not provide de novo review
where objections to this report and recommendation are frivolous, conclusive, or general. Mira
v. Marshall, 806 F.2d 636, 637 (6th Cir. 1986). Only specific objections are reserved for
appellate review. Smith v. Detroit Federation of Teachers, 829 F.2d 1370, 1373 (6th Cir. 1987).

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